                Case 2:21-cv-00884-MJP Document 121 Filed 08/17/22 Page 1 of 2




 1                                                                        The Honorable Marsha J. Pechman

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 7                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9    MARIJA PAUNOVIC and DUSAN
      PAUNOVIC, individually and on behalf of all                   Case No. 2:21-cv-00884-MJP
10    others similarly situated,
11                         Plaintiffs,                              MOTION TO ACCEPT LATE-FILED
                                                                    OPPOSITION
12            vs.
                                                                    NOTING DATE AUGUST 26, 2022
13    OBI SEAFOODS LLC, an Alaska corporation,
      and OCEAN BEAUTY SEAFOODS LLC, an
14    Alaska corporation,
15                         Defendants.
16            On August 17, 2022 Plaintiffs filed reply briefs in support of their two pending motions

17    to amend the scheduling order issued in this case (ECF 116 and 117). The Plaintiffs’ filings

18    surprised Defendants’ counsel had the Plaintiffs’ reply deadlines calendared for August 19, 2022

19    (the note date for the motions). Defendants’ counsel had August 17, 2022 calendared as the

20    deadline for Defendants’ responses to the two motions consistent with Local Rule 7(d)(2)(A).

21    Plaintiffs’ reply briefs take the position that Defendants’ responses should have been filed on

22    August 15, 2022 per Local Rule 7(d)(3). Defendants do not agree with Plaintiffs’ position but in

23    the abundance of caution and in the event the Court agrees with Plaintiffs’ position, Defendants

24    file this motion to request the Court to accept the possibly late-filed oppositions Defendants filed

25    on August 17, 2022 (ECF 119 and 120).

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     MOTION TO ACCEPT LATE-FILED OPPOSITION - 1
                                                                                   LITTLER MENDELSON, P.C.
     Paunovic v. OBI Seafoods, et al.; Case No. 2:21-cv-00884-MJP                        One Union Square
                                                                                  600 University Street, Suite 3200
                                                                                      Seattle, WA 98101.3122
                                                                                            206.623.3300
                 Case 2:21-cv-00884-MJP Document 121 Filed 08/17/22 Page 2 of 2




 1             In the interest of addressing this issue as quickly as possible and given the time of

 2    evening, Defendants’ counsel is filing this motion before determining if Plaintiffs oppose the

 3    motion. Defendants have no objection to adjusting the deadline for Plaintiffs’ reply brief should

 4    they wish to substantively respond to the responses Defendants filed.

 5             Defendants’ counsel apologizes to the Court and Plaintiffs’ counsel if Defendants’

 6    counsel has indeed inadvertently misapplied the local rules to the pending motions. Defendants’

 7    counsel are making a good faith effort to comply with local rules and the schedule for this case.

 8    There was no intentional disregard for the same. A proposed order is filed.

 9            Respectfully submitted this 17th day of August, 2022
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                                                                    /s/ Renea I. Saade
12                                                                  Renea I. Saade
13                                                                  Alaska Bar No. 0911060
                                                                    Littler Mendelson
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                                                                    Attorneys for Defendants
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      4883-8359-6323.1 / 112405-1001
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     MOTION TO ACCEPT LATE-FILED OPPOSITION - 2
                                                                                  LITTLER MENDELSON, P.C.
     Paunovic v. OBI Seafoods, et al.; Case No. 2:21-cv-00884-MJP                       One Union Square
                                                                                 600 University Street, Suite 3200
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                                                                                           206.623.3300
